Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 1 of 8 PageID 1




                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 SHERITA COOPER,

                Plaintiff,

 vs.                                               CASE NO.:

 WYNDHAM VACATION OWNERSHIP,
 INC.

             Defendant.
 ____________________________/

                    COMPLAINT & DEMAND FOR JURY TRIAL

        Plaintiff SHERITA COOPER (“Plaintiff”), through undersigned counsel, files this

 Complaint against Defendant WYNDHAM VACATION OWNERSHIP, INC., a Foreign

 Profit Corporation (“Defendant” or “Wyndham”), and states as follows:

                                     INTRODUCTION

        1.      Plaintiff brings this claim for disability discrimination against Defendant for

 its unlawful termination of Plaintiff based upon her disability or “perceived disability,” in

 violation of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101 et

 seq. (“ADA”). Plaintiff is seeking damages including back pay, front pay, compensatory

 damages, punitive damages, and her attorneys’ fees and costs.

        2.      Plaintiff brings a claim for discrimination and retaliation against Defendant,

 who subjected Plaintiff to workplace discrimination and retaliation because of her medical

 condition.

        3.      Plaintiff was wrongfully terminated as the culmination of discrimination and
Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 2 of 8 PageID 2




 retaliation against her.

                                       JURISDICTION

           4.    This Court has original jurisdiction over Plaintiff’s claims pursuant to

 Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101 et seq. (“ADA”).

           5.    Venue is proper as the acts and omissions giving rise to Plaintiff’s claims

 occurred in Orange County, Florida.

           6.    Plaintiff is protected by the Americans with Disabilities Act of 1990, as

 amended, 42 U.S.C. § 12101 et seq. (“ADA”).

           7.    Plaintiff timely filed her Charge of Discrimination with the U.S. Equal

 Employment Opportunity Commission (“EEOC”), alleging ADA violations and retaliation.

           8.    Plaintiff was issued her Notice of right to sue on Charge No. 511-2018-

 02462 on July 3, 2019.

           9.    Plaintiff filed this Complaint within 90 days of receiving her Notice of right

 to sue.

           10.   Plaintiff’s claims are therefore timely filed.

                                                PARTIES

           11.   Plaintiff worked for Defendant from approximately from January 5, 2018

 through February 8, 2018, as a Vacation Planner.

           12.   At all times material to this action, Defendant, was and continues to be a

 Foreign For-Profit Corporation.

           13.   Further, at all times material to this action, Defendant was, and continues

 to be, engaged in business in Florida, doing business in, among other counties, in Orange




                                                 2
Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 3 of 8 PageID 3




 County, Florida.

        14.     At all times material to this action, Plaintiff was an “employee” of

 Defendant within the meaning of the ADA.

        15.     At all times material to this action, Defendant was, and continues to be an

 “employer” within the meaning of the ADA.

        16.     Defendant is also employer as defined by ADA, as it employed over 15

 employees for over twenty calendar weeks in each year relevant to this action.

                                  GENERAL ALLEGATIONS

        17.     On or about February 7, 2018, while at work, Plaintiff began to experience

 chest pains and shortness of breath and as a result, she fainted. Wyndham’s on-sight

 nurse required that Plaintiff immediately go to the hospital emergency room. The

 emergency room doctor discovered that Plaintiff had blood clots in the heart, a disabling

 condition as that term is defined under the ADA, as amended.

        18.     A blood clot in the heart causes your chest to hurt or feel heavy and can

 cause a heart attack. Lightheadedness and shortness of breath are other potential

 symptoms.

        19.     After seeing the emergency room doctor, Plaintiff was hospitalized and

 required to stay overnight for observation. Plaintiff was released the next day, February 8,

 2018. Following her release from the hospital, Plaintiff contacted Wyndham to let them

 know that she was out of the hospital and would return to work the next day, February 9,

 2018. However, a couple of hours later, Plaintiff received a call from Wyndham

 informing Plaintiff that her employment had been terminated.




                                              3
Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 4 of 8 PageID 4




         20.     Thus, Plaintiff was covered by the ADA, as amended, because her

 physical impairment substantially limited one or more major life activities.

         21.     Plaintiff has a record of a physical impairment that limits one or more

 major life activities.

         22.     Plaintiff was regarded as having a physical impairment that substantially

 limits one or more major life activities.

       COUNT I – VIOLATIONS OF AMERICANS WITH DISABILITY ACT

         23.     Plaintiff reincorporates and readopts all allegations contained within

 paragraphs 1 through 22, above.

         24.     Plaintiff suffers from a disability as defined by the ADA.

         25.     Plaintiff is protected by the ADA:

                 a. Plaintiff was a disabled or “perceived as disabled” employee who suffered

         discrimination because of her disability or “perceived disability” by Defendant; and

                 b. Plaintiff suffered an adverse employment action as a result of her

         disability or “perceived disability.”

         26.     Defendant was at all material times an “employer” as envisioned

 and defined by the ADA.

         27.     Defendant saw Plaintiff’s disability as an opportunity to get rid of an

 employee because it perceived/regarded her as disabled and/or based on her disability

         28.     Plaintiff’s medical condition is a protected disability under the ADA, as

 amended. See 42 U.S.C.§12102.

         29.     Defendant’s actions unquestionably constitute disability discrimination in




                                                 4
Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 5 of 8 PageID 5




 violation of the ADA, as amended.

         30.     Given the timing and circumstances leading to Plaintiff’s termination,

 Defendant’s actions unquestionably constitute disability discrimination in violation of the

 ADA.

         31.     By reason of the foregoing, Defendant’s actions, and non-actions, affected

 the “terms, conditions or privileges” of Plaintiff’s employment as envisioned by the ADA.

         32.     Alternatively, Defendant perceived Plaintiff as being “disabled,” and

 therefore, unable to perform the essential functions of her position, despite the fact that

 Plaintiff could perform same with a reasonable accommodation.

         33.     Pleading in the alternative, Plaintiff’s impairment did not substantially limit

 a major life activity, but was treated by Defendant as if it did.

         34.     Pleading in the alternative, Plaintiff’s medical condition constituted an

 impairment that limited a major life activity only because of Defendant’s attitude toward the

 impairment.

         35.     Defendant does not have a non-discriminatory rationale for terminating

 Plaintiff’s employment.

         36.     Plaintiff was a disabled individual, or otherwise perceived as disabled by

 Defendant, during her employment. Therefore, she is the member of protected classes as

 envisioned by the ADA.

         37.     Plaintiff suffered sufficiently severe and pervasive treatment, and ultimate

 termination, because of her disability and/or “perceived disability,” and request for

 accommodation regarding same.




                                                 5
Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 6 of 8 PageID 6




         38.     The acts of Defendant, by and through its agents and employees, violated

 Plaintiff’s rights against disability discrimination under the ADA.

         39.     The discrimination to which Plaintiff was subjected was based on her

 disability and/or “perceived disability.”

         40.     The conduct of Defendant, its agents, and employees proximately, directly,

 and foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits,

 future pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental

 anguish, loss of enjoyment of life, and other non-pecuniary losses.

         41.     The conduct of Defendant was so willful and wanton, and in such reckless

 disregard of the statutory rights of Plaintiff, as to entitle her to an award of punitive damages

 against Defendant to deter it, and others, from such conduct in the future.

         42.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

 expenses pursuant to the ADA.

         43.     Plaintiff has retained the law firm of MORGAN & MORGAN, P.A. to

 represent Plaintiff in the litigation and has agreed to pay the firm a reasonable fee for its

 services.

         WHEREFORE Plaintiff, SHERITA COOPER, demands judgment against

 Defendant for back pay, an equal amount as liquidated damages, other monetary

 damages, equitable relief, declaratory relief, and reasonable attorneys’ fees and costs, and

 any and all further relief that this Court determines to be just and appropriate.

                            COUNT II – RETALIATION UNDER ADA

         44.     Plaintiff reincorporates and readopts all allegations contained within




                                                6
Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 7 of 8 PageID 7




 paragraphs 1–22 above.

        45.     Plaintiff   was,   at   all   times   relevant,   eligible   for   ADA-covered

 accommodation.

        46.     Defendant was Plaintiff’s employer as defined by the ADA.

        47.     Defendant retaliated against Plaintiff because she exercised her rights under

 the ADA by seeking an accommodation.

        48.     Defendant had actual knowledge of the retaliatory conduct of Plaintiff’s

 supervisors.

        49.     Defendant’s acts and omissions negatively affected one or more terms,

 conditions and/or privileges of Plaintiff’s employment.

        50.     Defendant’s retaliatory acts and omissions occurred, at least in part, because

 of Plaintiff’s request for ADA-covered accommodation.

        51.     Defendant’s conduct violated Plaintiff’s right to be free from retaliation as

 guaranteed by the ADA.

        52.     As a direct, natural, proximate and foreseeable result of the actions of

 Defendant, Plaintiff has suffered harm for which she is entitled to compensation, including,

 but not limited to lost wages and benefits, future pecuniary losses, emotional pain, suffering,

 inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses.

        53.     Plaintiff has no plain, adequate or complete remedy at law for the actions of

 Defendant, which have caused and continue to cause irreparable harm.

        54.     Defendant’s violations of the ADA were willful.

        55.     Plaintiff has retained the law firm of MORGAN & MORGAN, P.A. to




                                                7
Case 6:19-cv-01867-RBD-EJK Document 1 Filed 09/30/19 Page 8 of 8 PageID 8




 represent Plaintiff in the litigation and has agreed to pay the firm a reasonable fee for its

 services.

        56.     Plaintiff is entitled to recover her attorneys’ fees and costs pursuant to 42

 U.S.C. § 2617(a)(3).

        WHEREFORE Plaintiff, SHERITA COOPER, demands judgment against

 Defendant for back pay, an equal amount as liquidated damages, other monetary

 damages, equitable relief, declaratory relief, and reasonable attorneys’ fees and costs, and

 any and all further relief that this Court determines to be just and appropriate.

                              DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands a trial by jury.

        Dated this 30th day of September, 2019.

                                                Respectfully submitted,

                                                s/Anthony Hall
                                                Anthony J. Hall, Esq.
                                                Florida Bar No.: 40924
                                                Morgan & Morgan, P.A.
                                                20 N. Orange Ave., 14th Floor
                                                Orlando, FL 32801
                                                MAILING: , P.O. Box 530244
                                                Atlanta, GA 30353-0244
                                                Direct Tel.: (407) 418 2079
                                                Facsimile:     (407) 245-3390
                                                Email: ahall@forthepeople.com
                                                Counsel for Plaintiff




                                               8
